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                          UNITED STATES DISTRICT COURT                               '%-~ ~
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                                                                                      ~ 7> v'
                            DISTRICT OF CONNECTICUT
                                                                                              z~         17
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                                                                                              ·Clo,. %-~
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~let Pav\U,v
                                                                                               ·:"

                        Plaintiff,                                 3:1C<cv (2 3C~D~
         V.                                             Case No.     \\o~-2017-D\2 3
                                                                   (To be supplied by the Court)
c:, \_\\\\     ot N:etJ      ~ -0\yt,(\
                        Defendant(s).
                                           .

                     COMPLAINT FOR EMPLOYMENT DISCRIMINATION


 1.      Plaintiff resides at the following location:    N..ew \ ~            e(j.;l~(S       ~ 'letnablJv-.-

2.       Defendant(s) reside(s) at the following location [Attach additional sheets if more

space is required]: ,   G~ &: ~ew \ ()\ v n (~ u\D\ q' c\JJcils                 SZe.ke L4aw0
                             '



3.      This action is brought pursuant to [Check all spaces that apply to the type of

claim(s) you wish to assert against the Defendant(s)]:

        Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et
        seq., for employment discrimination on the basis of race, color, religion, sex, or
        national origin. Jurisdiction is specifically conferred on this Court by 42 U.S.C. §
        2000e-5(f). Equitable and other relief is sought under 42 U.S.C. § 2000e-5(g)
        and the Civil Rights Act of 1991, 42 U.S.C. § 1981 a.

•       Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621,
        et seq., for employment discrimination based upon age. Jurisdiction is alleged
        pursuant to 28 U.S.C. §§ 1331, 1337, and/or 1343. Equitable and other relief is
        sought under 29 U.S.C. §§ 626(b) and (c) or §§ 633a(b) and (c).

        My Year of Birth is:     ~ \_C\~lf)~~- - - -
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D        Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for
         employment discrimination on the basis of a disability against an employer which
         constitutes a program or activity receiving Federal financial assistance.
         Jurisdiction is asserted under 28 U.S.C. §§ 1331, 1337 and/or 1343. Equitable
         and other relief is sought under 29 U.S.C. § 794a.

D        Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et
         seq., for employment discrimination on the basis of a disability against a private
         employer. Jurisdiction is specifically conferred on this Court by 42 U.S.C.§
         2000e-5(f). See 42 U.S.C. § 12117(a). Equitable and other relief is sought
         pursuant to 42 U.S.C. § 2000e-5(g). td.

4.      The acts complained of in this suit concern [Check all spaces that are applicable

to your claim(s)]:



         (A)   S      Fail~re to hire me. I was refused a job on the following date(s): _


                            \
         (B)   D      Termination of my employment. I was terminated from my

                       employment on the following date: _ _ _ _ _ _ __

         (C)   D      Failure to promote me. I was refused a promotion on the following

                       date(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.


         (D)   @      Other acts as specified below:   I   UJ/19.   Q   S:«,SCbc/1 a, (c-'j
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     p0n, +:i ®    Ju l11 zs, ~ uIs- cJ \et' coYYV o rf2,e G, sc
                     (YD
L(J. \oov:e r: fv1 wree1 pl 61 fdwavd MaOt12.n= /-le /Vbrqlr
~j,\ l.      ~ hI N.d ov-e.v lJ1 rtH V\ ovev m.e ID                     v~
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    5.        The conduct of the Defendant(s) was discriminatory because it was based upon:

    race [QI, color [[J, religion [CJ, s e ~age [q, national origin   iq or disability [CJ. [Please
    check all applicable bases for your claim of discrimination and explain further, if

     necessary]:(L Ill       '-1-h ve "-j \'4 WcYY\ tn-¼a¼ \M.vtl:::hl '\-luA-vt~
                            (J.s,

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    6.fu- T~     f:c:,r~i~g ~'to~p~~~n~i;,i~~~n~~~s~:o5!fff;{:!
    [Attach additional sheets, if necessary]:

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     /so dnrr-c C!8 U;f !/ (8) A.v1: l 5 fl(f U/JJtYI& fl ug/o_ 111) ~ ~ ·
     y1 of UttlJ - Pf-er I n+n w'ftoed /er f&:w / qu,1J-ed a/ 'J-N, lne'ctvr~
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         V(U-p}-e d,   C/.M cat!      -w astfu/CJL()osu'~<)Y\,.
    7.       The approximate number of persons who are employed by the Defendant

    employer I am suing is:   't)'re,v: $00
    8.       The alleged discrimination occurred on or about the following date(s) or time
              ,--                             llf\cL

    perio\~~        ~~~ ~~~~:a~;;J_~a£1;;1 •
            ~~~ ~\lo - Q;()l-L, wru; Yl~Jt/rcalled 6rL
         Case 3:19-cv-00123-KAD Document 1 Filed 01/25/19 Page 4 of 9




9.       I filed charges with the:

      %.._     Equal Employment Opportunity Commission

       D       Connecticut Commission on Human Rights and Opportunities

10.    The Equal Employment Opportunity Commission issued a Notice of Right to Sue

letter (copy attached), which I received on or about the following date:    NiN®½f',t 2 11..fJ) ~
[NOTE: If you filed charges with the EEOC or the CHRO, you MUST attach a copy of

the Notice of Right to Sue letter for this Court to consider your claim(s). Failure to do so

may result in delaying consideration of your claim(s).]

11.     The EEOC or the CHRO determined that there was no probable cause to believe

that discrimination occurred. My reasons for questioning that determination are as

follows [Attach additional sheets, if necessary]: _ _ __ _ _ _ _ __ _ _ __




12.    I~ relief is not granted, I will be irreparably denied rights secured under the law(s)

referred to in Item Number 3, above.

13.    WHEREFORE, Plaintiff(s) pray(s) that: The Court grant such relief as may be

deemed appropriate, including [NOTE: While all of the forms of relief listed below may

not be available in a particular action, you should place a check next to each form of

relief you seek.):

       ~       Injunctive orders (specify the type of injunctive relief sought): _ _ __ _

              ~ruy[[
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         D       Reinstatement to my former position;

   ~ Monetary damages (specify the type(s) of monetary damages sought):                       _

 ~~ LW'1A skss 6
      :0         Other (specify the nature of any additional relief sought, not otherwise

                 provided for on this form) :   S\--res.s &rid ('_ {)JV! se{I :"fJ w t'tA ~
  Gp i,it,1rhtoi{                                                                                 ;
                 AND costs and attorneys' fees .

                                          JURY DEMAND

         I hereby        DoR          DO NOT      O   demand a trial


Original signature of attorney (if any)


~' i11ieci 1"a111e a11ci address




Attorney's telephone                                  Plaintiff's telephone


Email address if available
                                                      Ju  VJ i CR ()Ql(lur 3~
                                                      Email address if available
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Dated : - - - - - -




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                 DECLARATION UNDER PENAL TY OF PERJURY

       The undersigned declares under penalty of perjury that he/she is the plaintiff in
the above action, that he/she has read the above complaint and that the information
contained in the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed at      1YI    c hLJ..t-C}) 5+-
                       (location)
                                           }.,f-/f       on   J~,
                                                              (date)
                                                                       2~ ;} OJtj.


(Rev. 3/23/16)




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                          Case 3:19-cv-00123-KAD Document 1 Filed 01/25/19 Page 7 of 9
 c:EOC Form 161 (11/16)                   U.S. EQUAL EMPI .OYMENT OPPORTUNITY COMMISSION

                                                       ------!... AND NOTICE OF RIGHTS
                                                  DISMISSA
 To:    Janice Marie Parker                                                            From:    Boston Area Office
        635 Howard Avenue                                                                       John F. Kennedy Fed Bldg
        New Haven, CT 0651 0                                                                    Government Ctr, Room 475
                                                                                                Boston, MA 02203



       D                     On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR § 1601. 7(a))
 EEOC Charge No.                                 EEOC Representative                                                 Telephone No.

                                                Amon L. Kinsey, Jr.,
 16A-2017-01243                                 Supervisory Investigator                                             (617) 565-3189
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC ,

       D          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

       D          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


       D          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                  discrimination to file your charge

       D          The EEOC issues the following determination: Based upon its investigation , the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge .
       [I]        The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


       D          Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act,. the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                    On behalf of the Commission

                                                                                                                     NOV O 2 'l01t
Enclosures(s)                                                                                                              (Date Mailed)
                                                                     Feng K. An,
                                                                 Area Office Director
cc:


           CITY OF NEW HAVEN
           Michael B. Smart, City Clerk
           New Haven, CT 06540
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 Enclosure with EEOC
 Form 161 (11/16)

                                              INF0RMAl!0N RELATED TO FILING SUIT
                                            UNDER THE LAWS ENFORCED BY THE EEOC

                                                                                                              ww.
                                (This information relates fo fifing suit In Federal or Stafe court wlderFederot
                       ff you also plan to sue claiming violations of State law, pfees bs aware 111st time limits and other
                              provisions of State law may be short6r or more limited than those described below.)


                                        Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
 PRIVATE SUIT RIGHTS
                                        the Genetic Information Nondiscrimination Act (GINA), or the Age
                                        Discrimination in Employment Act (ADEA):

 In order to,pursue this rnalter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period ls over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult ~n attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthem,ore, in order to avoid any question that you did not act in a timely
mannerj it is prudent that your suit be flied within 90 days of the date this Notice was mailed to you (as
indicated wh ere the Not.ice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is r:iot enough. You must file a "complaint" that contains a short
statement of the facts of your case wNch shows that you are entitled to relief. Courts often require that a copy of
your charge must be .attached to the corriplaint y0u file In court. If so, you should remove your birth date from the
charge. Some courts will not acc·ept ,y our complaint where the charg e includes a date of birth. Your suit may include
any matter alleg.ed In tl1e charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the -charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brougl1t wtiere relevant employment records are kept, where the employment would have
been, or where t he resp.o ndent has Its main office. If you have simple questions, you usually can get answers from
the office ,of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                     Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for Will'ful violations) of th e alleged EPA underpayment: back
pa:,- d1!e for.violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1 /0 8 to 12/11/08 , you shou ld file suit
before 7/1/10 - not 12/1/10 -- in order to recover unpaid w.ages due for July 2008 . Thls time limit for flling an EPA
suit 1s separate from the 90-day filing period under Title VII , the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the AOEA, in addition to suing on the EPA
claim , suit must be flied within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period ,

ATTORNEY REPRESENTATION                   --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, In limited circums1a nces, assist you ·in obtaining a lawyer. Requests for such assistance must be
made to the U. S. District Court in th e form and manner It requires (you should be prepared to explain in deta!I your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                            --   All Statutes:

You may contact the EEOC repreisenf;alive shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, ncluding qdvlce on which U.S. District Court can hear your case. If you need to
Inspect or obtain a copy of Information in EEOC's file on the charge, please request it promptly in writing and provide
yoLrr charge number (as shown on your Notice). While EEOC destroys charge fi les after a certain time, all charge files
are kept tor at least 6 months after our last action on the case. Therefore, if you file suit ancl war,.t to review lhe charge
file, please. make your review request wJthin 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                 IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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          FACTS ABOUT FILING AN EMPLO'/MENT DISCRIMINATION SUIT IN FEDERAL COURT
                               IN THE &'TATE OF CONNECTICUT
      You have received a document which is the final determination or other final action of the Commission. This ends our handling of
      your charge. The Commission's action is effective upon receipt: Now, you must decide.whether you want to file a private lawsuit in
      court. This fact sheet answers several commonly asked questions about filing a lawsuiL

                                                      WHERE SHOULD I FILE MY LAWSUIT?

      Federal District Courts have strict rules concerning where you may file a suiL You may file a lawsuit against the respondent
      (employer, union, or employment agency) named in your charge. The appropriate court is the district court which covers either the
      county where the respondent is located or the county where the alleged act of discrimination occurred. A lawsuit can be filed at the
      following U.S. District Court locations in Connecticut:

      •    The United States District Courts for the District of Connecticut are located at:

           o        The Abraham Ribicoff Federal Building, 450 Main Street, Hartford, Connecticut 06103, or by contacting the Clerk of g,e
                    Court Office at (860) 240-3200                                                 .                                . ~
           o        141 Church St., New Haven, Connecticut 06510, or by contacting the Clerk of the Court Office at (203) 773-2140 -2) ~
           o        J~~ Brien McMahon.J=.ederal Building, .915 LaFayette Blvd,, Bridgeport, Connecticut 06604, or by contacting the Cieri< of
                    the Court Office at (203) 5!9-5861
           o        14 Cottage Place, Waterbury, Connecticut 06702, or by contacting the New Haven Clerk of the Court at (203) 773-2140
                                                        WHEN MUST I FILE MY LAWSUIT?
     Your private lawsuit must be filed in U.S. District Court within 90 days of the date you receive the enclosed final action. Once this 90
     day period is over, unless you have filed suit, you will have lost your right to sue.
                                                              DO I NEED A LAWYER?

     No, you do not need a lawyer to file a private suit. You may file a complaint in federal court without a lawyer which is called a prose
     complaint. Every district court has either a clerk or staff attorney who can assist you in filing prose. To find out how to file a pro se
     complaint, contact the cler'i< of the court having jurisdiction over your case who can advise you of the appropriate person to assist you
     and of the procedures to follow, which may vary from district to district.

     You may, however, wish to retain a lawyer in order to adequately protect your legal rights. Whether you retain a private attorney, or
     file prose, you must file your suit in the appropriate court within 90 days of receiving this mailing.

                                             WHAT IF I WANT A LAWYER BUT CAN'T AFFORD ONE?
      If you can't afford a lawyer the U.S. District Court which has jurisdiction m:;iy assist you in obtaining a lawyer. You should consult with
    · the office of the district court that assists prose complainants for specific instructions on how to seek counsel.

     Generally, the U.S. District Court charges a $350.00 filing fee to commence a lawsuiL However the court may waive the filing fee if
     you cannot afford to pay it. You should ask the office of the District Court that assists prose complainants for information concerning
     the necessary procedure to request that the filing fee be waived.

                                                          HOW CAN I FIND A LAWYER?

     These are several attorney referral services operated by bar or other attorney organizations which may be of assistance to you in
     finding a lawyer to assist you in ascertaining and asserting your legal rights:

                               American Bar Association                                        {312) 988-5522
                               The Connecticut State Bar Association                           (860) 223-4400
                               National Employment Lawyers Association Referral Service        (212) 819-9450
     Your County, City of Municipal Lawyers or Bar Association may also be of assistance.

                                              HOW LONG WILL THE EEOC RETAIN MY CASE FILE?

     Generally, the Commission's rules call for your charge to be destroyed after 2 years from the date of a no cause determination or six
     months after other types of final actions. If you file a suiL and wish us to retain your file for more than the normal retention period,
     you or your attorney should forward a copy of your court complaint to this office within 10 days after you file suit IF YOU FILE SUIT,
     YOU OR YOUR ATTORNEY SHOULD ALSO NOTIFY THIS OFFICE WHEN THE LAWSUIT IS RESOLVED.

Information Sheet
